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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND


Paul Duffy,                                  §
                                             §
       Plaintiff,                            §
                                             §        CIVIL ACTION NO. _____________
v.                                           §
                                             §
RPS Group, Inc.,                             §
                                             §
       Defendant.                            §

                          DEFENDANT RPS GROUP, INC.’S
                     NOTICE OF REMOVAL FROM STATE COURT

       Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant RPS Group, Inc. files this

Notice of Removal from State Court of the above-entitled action from the Superior Court of

Washington County, Rhode Island for the reasons set forth below:

                                                 I.
                                       BACKGROUND

       1.      On September 14, 2020, Plaintiff filed the above-captioned civil action No. WC-

2020-0376, in the Superior Court of Washington County, Rhode Island. A copy of Plaintiff’s

Complaint is attached as Exhibit A.

       2.      Defendant was served with Plaintiff’s Complaint on December 8, 2020. A copy

of the Summons is attached as Exhibit B.

       3.      Pursuant to 28 U.S.C. § 1446(a), these documents comprise the “process,

pleadings, and orders served” in the state court action with respect to this case. A complete copy

of all other pleadings and orders issued by the Superior Court of Washington County, if any, are

attached as Exhibit C.

       4.      In this lawsuit, Plaintiff alleges that RPS Group, Inc., is liable for discrimination
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on the basis of his alleged disability or perceived disability in violation of the Fair Employment

Practices Act (“FEPA”), the Rhode Island Civil Rights of People with Disabilities Act

(“CRPDA”), and the Rhode Island Civil Rights Act of 1990 (“RICRA”). See Exhibit A at ¶¶ 1,

6-7.

                                           II.
                                 DIVERSITY JURISDICTION

        5.     This Court has subject matter jurisdiction in this case based upon diversity

jurisdiction. 28 U.S.C. § 1332. Diversity jurisdiction exists in a civil matter where the amount in

controversy exceeds $75,000, exclusive of interest and costs, and the dispute is between citizens

of different states. Id. § 1332(a)(l). Both of the requirements for diversity jurisdiction are met in

this case.

        A.     The Amount in Controversy Exceeds $75,000

        6.     The amount in controversy in this action exceeds $75,000, exclusive of interest

and costs. Specifically, in his Complaint, Plaintiff requests the following relief, which

individually and/or in sum, amounts to more than $75,000, exclusive of interest and costs: (1)

compensatory damages; (2) liquidated damages; and (3) attorneys’ fees. See Exhibit A at ¶¶ 1,

6-7.

        7.     At the time of his separation from RPS Group, Inc., Plaintiff earned a salary of

$160,000 per year. Based on Plaintiff’s annual salary, it is apparent that Plaintiff’s alleged

compensatory damages for lost wages alone would exceed the jurisdictional amount in

controversy requirement of $75,000.

        8.     Moreover, the fact that Plaintiff seeks to recover liquidated damages and

attorneys’ fees further evidences that the amount in controversy in this case easily exceeds

$75,000. See Freitas v. First N.H. Mortg. Corp., No. 98-211-ML, 1998 U.S. Dist. LEXIS 15698,


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at *16-20 (D.R.I. July 23, 1998) (discussing that attorney’s fees and punitive damages included

in amount of controversy for removal).

       B.      Complete Diversity of Citizenship Exists Between the Parties

       9.      There is complete diversity of citizenship exists between Plaintiff and Defendant.

At the time this suit was filed and at the time of removal, Plaintiff was a citizen of the state of

Massachusetts. See Exhibit A at ¶ 1.

       10.     Both at the time this suit was filed and at the time of removal, RPS Group, Inc.

was a corporation organized and existing under the laws of Texas with its global headquarters

located in the United Kingdom and its principal place of business in Texas. See 28 U.S.C. §

1332(c) (discussing that a corporation is a citizen of the state in which it was incorporated and

the state in which it has its principal place of business). Accordingly, there is complete diversity

of citizenship between Plaintiff and Defendant.

                                       III.
                              PROCEDURAL ALLEGATIONS

       11.     The District of Rhode Island is the federal district that encompasses the Superior

Court of Washington County, Rhode Island. See 28 U.S.C. § 120.

       12.     This notice of removal is filed within thirty (30) days of having been served with

Plaintiff’s Complaint and is therefore timely filed under 28 U.S.C. § 1446. Therefore, removal

to this Court is proper under 28 U.S.C. §§ 1441(a) and (b) and 1446.

       13.     As required by 28 U.S.C. § 1446(d), a copy of this Notice of Removal will be

promptly filed in the Superior Court of Washington County, Rhode Island, and served on

Plaintiff. A copy of the Notification to State Court is attached as Exhibit D.




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       WHEREFORE, the Defendant respectfully requests the removal of this action from the

Superior Court of Washington County, Rhode Island to the U.S. District Court for the District of

Rhode Island.

                                                    Respectfully submitted,

                                                    Defendant, RPS Group, Inc.

                                                     /s/ Syd Saloman           _____
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                                                    Houston, Texas 77010-3095
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                                                    Applications for admission pro hac vice
                                                    forthcoming




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                             CERTIFICATE OF SERVICE

        I hereby certify that on, December 31, 2020, I electronically filed the foregoing
document with the clerk of court for the U.S. District Court of Rhode Island using the
electronic filing system of the court. The electronic filing system sent a “Notice of
Electronic Filing” to the following:

      Michael D. Pushee
      Jessica A. Roberge
      FORMISANO & COMPANY, P.C.
      100 Midway Place, Suite 1
      Cranston, Rhode Island 02920

                                                /s/ Samantha Hand-Garnet
                                                Samantha Hand-Garnet




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